                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        DOCKET NO. 3:22-CR-00146-RJC-DSC


 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 v.                                               )                    ORDER
                                                  )
 DENISE WOODARD,                                  )
                                                  )
                  Defendant.                      )



       THIS MATTER is before the Court sua sponte following Defendant’s entry of a guilty

plea to a Bill of Information on June 30, 2022. Attorney Donald F. Samuel appeared as counsel

for Defendant. Following this proceeding, the Court became aware that Mr. Samuel is not admitted

to practice in the Western District of North Carolina. Nor was he admitted pro hac vice in this

case. His office is in Atlanta, Georgia where he is admitted to practice in the Northern District of

Georgia. Court records show that Mr. Samuel was properly admitted pro hac vice in two previous

matters here, U.S. v. Rand, 3:10-cr-182 and U.S. v Geiger, 5:10-cr-54. In U.S. v. Aning, 3:13-cr-

337, he appeared and filed a motion on behalf of the Defendant without having been admitted pro

hac vice.


       Local Criminal Rule 44.1 states that “admission, appearance, discipline and disbarment of

counsel are governed by LCvR 83.1 and LCvR 83.2, which are fully adopted herein.” Under Local

Civil Rule 83.1(b)(1), an attorney may be admitted to practice before this Court by pro hac vice

admission which is “an admission to the Bar of this Court in a particular case by an attorney who

is a member in good standing of the Bar of a United States District Court, the Bar of the highest



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court of any state, or the District of Columbia Bar. Such candidate must associate local counsel

and be accompanied by local counsel at all hearings unless otherwise permitted by the Court.”


       Given his prior appearances in this District, Mr. Samuel should be well aware of the Local

Rules governing admission pro hac vice. This is the second instance where he has appeared

without having been admitted pro hac vice. Accordingly, it is ORDERED that:


       1.      Mr. Samuel’s appearance in this matter is stricken.


       2.      He shall associate local counsel forthwith and make a proper motion to appear pro

hac vice if he intends to represent the Defendant. Local counsel shall appear at all future hearings.


       3.      Any further violations of the Local Rules or the Court’s orders will result in

imposition of sanctions.


       The Clerk is directed to send copies of this Order to Mr. Samuel, the U.S. Attorney and to

the Honorable Robert J. Conrad, Jr.


       SO ORDERED.



                                      Signed: July 8, 2022




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